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AO 93   (Rev. 11113) Search and Seizure Warrant
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                       .         m                   UNITED STATES DISTRICT COUR
                                          ,
                                                                                                                               APR 3 0 2019
              ;                                  :

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              .Tt\,,;-                                                           for the

                      tJ7:..-..
              ..

                                                                     Southern District of California
                   ·




                           In the Matter of the Search of                           )
              (Briefly describe the property to be searched                         )
               or identifY the person by name and address)                          )      Case No.
                                              Sch.net
             9120 Double Diamond Parkway, Suite 5901,
                                                                                    )
                                                                                    )
                                                                                                        19MJ1755
                         Reno, NV 89521                                             )

                                                         SEARCH AND SEIZURE                    WARRMO.SE UNSEALED PER ORDER OF COURT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                             District of                Nevada
(identify the person or describe the property to be searched and give its location):

                                                                    SEE ATTACHMENT A
                                                                (INCORPORATED HEREIN)




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
                                                                    SEE ATTACHMENT B
                                                              (INCORPORATED HEREIN)




          YOU ARE COMMAND           <f� �q<{xecute this warrant on or before                                  (not to exceed 14 days)
      ';/in the daytime 6:00 a.Jlr: trf l:J.60 p.rrr. 0 at any time in the day or night because good cause has been established.
                                                     12: 00 °""""   W\      A..,•i, [ 1'1 Ul l c;
        Unless delayed notice is authorized below, you milst give a topy ottfie warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                   Honorable Jill L. Burkhardt
                                                                                                       (United States Magistrate Judge)

     ';/Pursuant to 18 U.S.C. § 3103a(b ), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriote bax)
    0 for          days (not to exceed 30) 0 until, the facts justifying, the

                                                           'f;S<>   /)Iv\
Date and time issued:                    04/28/2019·0.88 a:::



City and state:                      San Diego, California                                              Honorable Jill   L. Burkhardt
                                                                                                            Printed name and title
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                                                               Return

Case No.:                                                                     Copy of warrant and inventory left with:

        /'1M.Jl1SS
Inventory made in the presence of:

                         Pr
Inventory of the property taken and name of any person(s) seized:




                                                            Certification



         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




Date:



                                                                                                                1
                                                                                       Printed name and title
